Case: 4:19-cv-03192-RLW Doc. #: 1-1 Filed: 12/04/19 Page: 1 of 26 PagelD #: 4

IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 

 

 

Judge or Division: Case Number: 19SL-CC05015

JOSEPH L. WALSH III

Plaintiff/Petitioner: Plaintiff s/Petitioner’s Attorney/Address SHERIFF FEE
JOHN J LITWICKI GREGORY G FENLON PAID

 

601 S LINDBERGH

vs. | SAINT LOUIS, MO 63131
Defendant/Respondent: Court Address:
ST. LOUIS COUNTY, MISSOURI ST LOUIS COUNTY COURT BUILDING
105 SOUTH CENTRAL AVENUE
CLAYTON, MO 63105

 

 

Nature of Suit:
CC Other Tort

 

 

(Date File Stamp)

 

Summons in Civil Case

The State of Missouri to: ST. LOUIS COUNTY, MISSOURI
Alias:
OFFICE OF COUNTY EXECUTIVE
41 S. CENTRAL
9TH FLOOR
CLAYTON, MO 63105

 

You are summoned to appear before this court and to file your pleading to the petition, a copy of
which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
file your pleading, judgment by default may be taken against you for the relief demanded in the petition,

SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please

notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
proceeding. Z

 

ST. LOUIS COUNTY

13-NOYV-2019

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Date C/ [Clerk .

Further Information:
AD

 

 

Sheriffs or Server’s Return
Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
I certify that I have served the above summons by: (check one)
[_] delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.

[_] leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
a person of the Defendant’s/Respondent’s family over the age of 15 years who

 

permanently resides with the Defendant/Respondent.
[_] (for service on a corporation) delivering a copy of the summons and a copy of the petition to

 

 

 

 

 

 

 

 

 

 

 

(name) (title).
[_] other
Served at __ (address)
in (County/City of St. Louis), MO, on ee (date) at (time),
Printed Name of Sheriff or Server Signature of Sheriff or Server
Must be sworn before a notary public if not served by an authorized officer:
Subscribed and sworn to before me on (date).
(Seal)
My commission expires:
Date Notary Public
Sheriff's Fees, if applicable
Summons
Non Est $
Sheriff's Deputy Salary
Supplemental Surcharge $ 10.00
Mileage $ ( miles @ §. per mile)
Total $

A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
suits, see Supreme Court Rule 54.

 

 

 

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 19-SMCC-10459 | (Civil Procedure Form No. 1, Rules 54.01 — 54.05,
54.13, and 54.20; 506.120 — 506,140, and 506.150 RSMo
Case: 4:19-cv-03192-RLW Doc.#: 1-1 Filed: 12/04/19 Page: 2 of 26 PagelD #: 5
THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

Twenty First Judicial Circuit

NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES

Purpose of Notice

As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

(1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

(2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.

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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 19-SMCC-10459 2 (Civil Procedure Form No. 1, Rules 54.01 — 54.05,
54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
Case: 4:19-cv-03192-RLW Doc.#: 1-1 Filed: 12/04/19 Page: 3 of 26 PagelD #: 6

(3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their’
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

(4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

(5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the ‘trial’, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting

a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.

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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 19-SMCC-10459 3 (Civil Procedure Form No. 1, Rules 54.01 — 54.05,
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Case: 4:19-cv-03192-RLW Doc. #: 1-1 Filed: 12/04/19 Page: 4 of 26 PagelD #: 7

IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 

 

Judge or Division: Case Number: 19SL-CC05015

 

JOSEPH L. WALSH III
Plaintiff/Petitioner: Plaintiff’s/Petitioner’s Attorney/Address SHERIFF FEE
JOHN J LITWICKI GREGORY G FENLON PAID

 

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105 SOUTH CENTRAL AVENUE
CLAYTON, MO 63105

 

 

Nature of Suit:
CC Other Tort

 

 

(Date File Stamp)

 

Summons in Civil Case

The State of Missouri to: CITY OF CRESTWOOD, MISSOURI
Alias:

 

MAYOR GRANT MABIE
1 DETJEN DR
CRESTWOOD, MO 63126

COURT SEAL OF You are summoned to appear before this court and to file your pleading to the petition, a copy of

% which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
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ST. LOUIS COUNTY

13-NOV-2019

fon forces
Date C/ [Clerk

Further Information:
AD

 

 

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a person of the Defendant’s/Respondent’s family over the age of 15 years who

 

permanently resides with the Defendant/Respondent.
[_] (for service on a corporation) delivering a copy of the summons and a copy of the petition to

 

 

 

 

 

 

 

 

 

 

(name) (title).
[_] other
Served at (address)
in (County/City of St. Louis), MO, on __ (date) at (time).
Printed Name of Sheriff or Server Signature of Sheriff or Server
Must be sworn before a notary public if not served by an authorized officer:
. Subscribed and sworn to before me on (date).
(Seal)
My commission expires:
Date Notary Public
Sheriff's Fees, if applicable
Summons
Non Est $
Sheriff's Deputy Salary
Supplemental Surcharge $ 10.00
Mileage $ ( miles @ §. per mile)
Total $

A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
suits, see Supreme Court Rule 54.

 

 

 

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 19-SMCC-10460 1 (Civil Procedure Form No. I, Rules 54.01 — 54.05,
54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
Case: 4:19-cv-03192-RLW Doc.#: 1-1 Filed: 12/04/19 Page: 5 of 26 PagelD #: 8
THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

Twenty First Judicial Circuit

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Case: 4:19-cv-03192-RLW Doc. #: 1-1 Filed: 12/04/19 Page: 6 of 26 PagelD #: 9

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Case: 4:19-cv-03192-RLW Doc. #: 1-1 Filed: 12/04/19 Page: 7 of 26 PagelD #: 10 .

19SL-CC05015 |

IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
STATE OF MISSOURI

JOHN J. LITWICKI,
Plaintiff,
VS.

No. 4:18-cv-02102-JAR
SAINT LOUIS COUNTY, MISSOURI,

. . Jury Trial Requested
Serve: Office of County Executive * 4

41 S. Central
9th Floor
St. Louis (Clayton), MO. 63105,

-and-
CITY OF CRESTWOOD, MISSOURI,
Serve: Mayor Grant Mabie

1 Detjen Dr.
Crestwood, MO. 63126

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Defendants.

PLAINTIFF’S PETITION FOR DAMAGES

Plaintiff bring this Petition for civil damages stating as follows:
GENERAL ALLEGATIONS

1. Defendant St. Louis County is a political subdivision of the State of

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Case: 4:19-cv-03192-RLW Doc. #: 1-1 Filed: 12/04/19 Page: 8 of 26 PagelD #: 11 .

Missouri and authorized to sue or be sued in its own name.

2. The St. Louis County Police Board (“Police Board”) is established by the
St. Louis County Charter, Article IV, Section 4.270.

3. Pursuant to Section 4.270, the Police Board is vested with authority to
establish the policies of the St. Louis County Police Department.

4. The Police Board oversees the operation of the St. Louis County Police
Department and is the final policy maker for the St. Louis County Police
Department.

5, The policies established by the Police Board govern the operation and
conduct of the St. Louis County Police Department.

6. The Police Board establishes the rules and regulations for the
qualifications, conduct, and discipline of St. Louis County Police Department
employees including police officers.

7. The St. Louis County Police Board is the final authority for the control
and supervision of the St. Louis County Police Department.

8. The St. Louis County Police Department is an integral part of the St.
Louis County Government, being the vehicle whereby the County fulfills its

policing function.

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Case: 4:19-cv-03192-RLW Doc. #: 1-1 Filed: 12/04/19 Page: 9 of 26 PagelID#: 12 .

9. Board members are selected from the community by the County
Executive and approved by the County Council. The Board derives its authority
from Section 4.270 of the St. Louis County Charter where it states, “The board of
police commissioners shall be in charge of the police department.”

10. The St. Louis County Charter authorizes the Board of Police
Commissioners to perform a variety of critical functions and tasks including the
final authority to make the customs, practices, policies and procedures of the
County Police Department. The Board formulates policies governing the
operation and conduct of the department by approving all General Orders or
policies of the Department. They appoint and provide oversight of the Chief of
Police with the power to dismiss the Chief.

11. The St. Louis County Police Chief is authorized, in certain instances,
and often is the final decision maker on matters of custom, practice, policy and
procedure in areas not touched on or covered by Board of Police Commissioners
General Orders.

12. Defendant City of Crestwood is a municipal corporation located in St.
Louis County, Missouri duly organized under the laws of the State of Missouri.

13. The City of Crestwood is governed by a mayor and a board of

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Case: 4:19-cv-03192-RLW Doc. #: 1-1 Filed: 12/04/19 Page: 10 of 26 PagelD #: 13.

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alderman. There are eight (8) members comprising the board of alderman. é
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14. The City of Crestwood operates under a charter form of Government. 2

15. Under the City of Crestwood Charter the powers of the city are vested 5

in the Board of Alderman. é
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16. Under the City of Crestwood Charter the mayor is recognized as “the =

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head of the city for all legal and ceremonial purposes... .” =
17. The City of Crestwood Charter provides that the “ Mayor shall =

preside at meetings of the Board of Aldermen, but shall not vote on any question
except in case of a tie.”

18. The Crestwood Mayor is delegated to exercise “ a general supervision
over the affairs of the city, and shall take care that the ordinances of the city and
the state laws relating to such city, are complied with.”

19. Under the City of Crestwood Charter the mayor nominates a City
Administrator who appoints and supervises department heads, including the
Crestwood Chief of Police.

20. The City of Crestwood has a police department operated by the Chief
of Police and supervised by the City Administrator. Under the governmental

structure of the City of Crestwood, the Chief of Police establishes and enforces

Page | 4
Case: 4:19-cv-03192-RLW Doc. #: 1-1 Filed: 12/04/19 Page: 11 of 26 PagelD #: 14 .

the final practices, procedures, protocols, customs, and rules for the City of
Crestwood Police Department.
21. At all times mentioned herein, defendants were acting under color of

law.

COUNT I
BY PLAINTIFF DEFENDANT CITY OF CRESTWOOD

ACTION UNDER 42 U.S.C. § 1983 FOR DEPRIVATION OF
PROPERTY (HANDGUNS) WITHOUT DUE PROCESS OF LAW

Plaintiff John N. Litwicki for his first Count against defendant City of
Crestwood states as follows:

22. Plaintiff adopts each and every allegation of paragraphs 1- 21 above.

23. Plaintiff John Litwicki is a United States Citizen.

24, In December of 2017 plaintiff was the owner and possessor of five
functioning handguns in the City of Crestwood, to-wit:

1. Smith & Wesson — 38 special air weight, crimson trace laser,
loaded with five bullets

2. Harrington & Richardson 38 S&W revolver, loaded with 5
bullets

3. North American Arms, 22 magnum loaded with five bullets

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Case: 4:19-cv-03192-RLW Doc. #: 1-1 Filed: 12/04/19 Page: 12 of 26 PagelD #: 15.

4. Taurus, G2cpt111, 9mm semi auto , 12 bullets in magazine

5. Ruger LCP 380 with red sight laser loaded with 6 bullets

25. In December of 2017 plaintiff was possessing the five handguns and
exercising his constitutional right to bear arms.

26. All five guns and ammunition were searched, seized and taken from
plaintiff by Crestwood Police.

27. No search warrant or seizure warrant was issued take plaintiff’s guns
and ammunition.

28. No search warrant or seizure warrant was ever issued to seize any
plaintiff's guns or ammunition.

29. None of the five guns were stolen.

30. The seizing Crestwood Police Officers had no information or
reasonable belief that the guns were stolen.

31. Crestwood Police lacked any information that any of the guns were
ever used in a crime.

32. None of the five guns were needed as evidence in a criminal
proceeding.

33. The guns and ammunition were seized without the permission of

Page | 6

 

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Case: 4:19-cv-03192-RLW Doc. #: 1-1 Filed: 12/04/19 Page: 13 of 26 PagelD #: 16.

plaintiff.

34. Plaintiff's guns and ammunition were seized by Crestwood Police
without providing a receipt.

35. Shortly after the seizure, plaintiff made several attempts to contact
Crestwood Police in an effort to obtain the return of his guns and ammunition.

36. Crestwood Police refused to the return the seized guns and
ammunition to plaintiff.

37. When plaintiff inquired of the Crestwood police department as to
what he needed to do to promptly get his guns and ammunition back plaintiff
was given the run around and was eventually advised that it was the custom,
policy and procedure of the City of Crestwood to turn over the guns and
ammunition to the St. Louis County Police.

38. Plaintiff was provided with no notice or opportunity to be heard or
opportunity to object to the transfer of his guns and ammunition to the St. Louis
County Police.

39. Plaintiff was advised that his guns and ammunition were turned over
to the general custody of the St. Louis County Police Department and were not

given a name, department or contact information as to who to contact.

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40. The initial seizure of the firearms and ammunition was without pre-
deprivation hearing.

41. No prompt post-deprivation hearing, in a meaningful time and
meaningful manner, has been provided by defendants to plaintiff.

42. The seizure of the firearms and ammunition was an authorized action
of Crestwood Police Department.

43. The seizure and retention of the firearms and ammunition was not
random or unauthorized but pursuant to police custom, policy, practice and
procedure of defendant City of Crestwood.

44. Defendant City of Crestwood has not developed an adequate post-
deprivation hearing or judicial remedy in a meaningful time and in a meaning
manner for an owner of a firearm or ammunition seized to regain possession of
their property.

45. It was the policy, custom, practice and procedure of the City of
Crestwood to turn over and transfer seized guns to the County of St. Louis
without notice to the owner or possessor of the guns prior to the transfer.

46. Defendants have kept plaintiff's firearms in a secret location in the

custody of unidentified individuals.

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47. Plaintiff has made repeated demand for return of his property.

48. After a reasonable time has expired, plaintiff's requests for return of
his gun and ammunition have been refused and denied.

49, Plaintiff has been deprived of his guns without due process of law and
is entitled to his actual damages pursuant to the provisions of 42 U.S.C. § 1983.

50. Plaintiff has been damaged by the aforementioned actions which were
caused by the deprivations set forth above.

51. In addition to his actual damages, plaintiff is entitled to damages for
the constitutional violations as heretofore described and reasonable attorney fees
and costs.

WHEREFORE, plaintiff John Litwicki prays judgment against defendant
City of Crestwood, under Count I for damages in an amount which will fairly
and justly compensate him, for his attorneys fees and costs, and for whatever
other and further relief as to the Court shall seem meet and proper in the

premises.

COUNT II
BY PLAINTIFF JOHN LITWICKI AGAINST
DEFENDANT CITY OF CRESTWOOD

ACTION UNDER 42 U.S.C. § 1983 BY PLAINTIFF FOR

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Case: 4:19-cv-03192-RLW Doc. #: 1-1 Filed: 12/04/19 Page: 16 of 26 PagelD #: 19

DEPRIVATION OF PROPERTY (AMMUNITION) WITHOUT
DUE PROCESS OF LAW

Plaintiff John Litwicki for his Second Count against defendant City of
Crestwood states:

52. He adopts each and every allegation of paragraphs 1 through 51
above.

53. In December of 20117 plaintiff was the owner of ammunition
contained in the five seized firearms described above.

54. Crestwood Police did not provide plaintiff with directions concerning
the procedure to obtain the return of his ammunition.

55. Several days after seizure plaintiff contacted the Crestwood Police
Department in an effort to obtain the return of his ammunition.

56. Crestwood Police refused to the return the seized ammunition to
plaintiff.

57. Plaintiff has been deprived of his ammunition without due process of
law and is entitled to his actual damages pursuant to the provisions of 42 U.S.C.
§ 1983.

58. In addition to his actual damages, plaintiff is entitled to damages for

the constitutional violations as heretofore described and reasonable attorney fees

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and costs.

WHEREFORE, plaintiff prays judgment against defendant City of
Crestwood under Count II for damages in an amount which will fairly and
justly compensate him, for his attorneys fees and costs, and for whatever
other and further relief as to the Court shall seem meet and proper in the

premises.

COUNT III
BY PLAINTIFF JOHN LITWICKI AGAINST
DEFENDANTS CITY OF CRESTWOOD AND ST.LOUIS
COUNTY

ACTION UNDER 42 U.S.C. § 1983 By PLAINTIFF FOR
UNREASONABLE SEIZURE

Plaintiff John Litwicki for Count II against defendants St. Louis County
states:

59. He adopts each and every allegation of paragraphs 1 through 58
above.

60. Defendant St. Louis County seized plaintiffs guns and ammunition
without a warrant.

61. Defendant St. Louis County seized plaintiff's guns and ammunition

without notice to plaintiff or without affording plaintiff the right to be heard.
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62. The seizure of the firearm and ammunition was an authorized action
of St. Louis County police officers.

63. The seizure and retention of the firearms and ammunition was not
random or unauthorized but pursuant to police custom, policy, practice and
procedure of defendant St. Louis County.

64. Defendants have developed no meaningful post-deprivation hearing
or judicial remedy for an owner of firearm ammunition seized.

65. Defendants have kept plaintiff's firearm in a secret location in the
custody of unidentified individuals.

66. Plaintiff has made demand for return of his property.

67. After a reasonable time has expired, plaintiff's request have been
rejected and denied.

68. In addition to taking and seizing plaintiffs property without probable
cause, the prolonged seizure of plaintiff's property also violates the Fourth
Amendment to the United States Constitution.

69. For all of the reasons and facts state above, Plaintiff has been damaged
by the unlawful seizure of his property within the meaning of the Fourth

Amendment to the United States Constitution.

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70. In addition to his actual damages, plaintiff is entitled to damages for
the constitutional violations as heretofore described and reasonable attorney fees
and costs.

WHEREFORE, plaintiff prays judgment against defendants City of
Crestwood and St. Louis County under Count III for damages in an amount
which will fairly and justly compensate him, for his attorneys fees and costs, and
for whatever other and further relief as to the Court shall seem meet and proper

in the premises.

Count IV

BY PLAINTIFE AGAINST DEFENDANTS ST. LOUIS COUNTY

ACTION UNDER 42 U.S.C. § 1983 FOR DEPRIVATION OF
PROPERTY (HANDGUN) WITHOUT DUE PROCESS OF LAW

Plaintiff John Litwicki for Count IV herein against defendant St. Louis
County states as follows:

71. Plaintiff adopts each and every allegation of paragraphs 1- 70 above.

72. St. Louis County Police seized the guns and ammunition without
providing a receipt.

73. Defendant St. Louis County has never provided plaintiff with any
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written information concerning the seizure of his ammunition or gun.

74. Defendant St. Louis County refuses to the return the seized guns and
ammunition.

75. The initial seizure of the firearms and ammunition was without pre-
deprivation hearing.

76. No prompt post-deprivation hearing, in a meaningful time and
meaningful manner, has been provided by defendants to plaintiff.

77. The seizure of the firearm and ammunition was an authorized action
of St. Louis County police officers.

78. The seizure and retention of the firearms and ammunition was not
random or unauthorized but pursuant to police custom, policy, practice and
procedure of defendant St. Louis County and the Board.

79. Defendants have not developed an adequate post-deprivation hearing
or judicial remedy in a meaningful time and in a meaning manner for an owner
of a firearm or ammunition seized to regain possession of their property.

80. Defendants have kept plaintiff's firearm in a secret location in the
custody of unidentified individuals.

81. Plaintiff has been deprived of his gun without due process of law and

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is entitled to his actual damages pursuant to the provisions of 42 U.S.C. § 1983.

82. It was the policy of the St. Louis County Police Department to submit
to the Police Crime Lab all firearms seized for any reason.

83. This policy results in a substantial and unconstitutional delay in
returning property seized to plaintiff, in particular, and persons in a similar
situation, which involves thousands of guns being presented yearly to the crime
lab and prolonging their return for approximately two years.

84. In addition, defendant St. Louis County has failed to train and failed to
enact guidelines and directives which give owners of firearms and ammunition
seized by St. Louis County Police Officers sufficient information and instructions
identifying the property seized, the seizing officer, contact information, the
manner and method of obtaining the return of said seized items, the manner of
challenging the seizure or the prolonged seizure, and the basis for the seizure.

85. Plaintiff has been damaged by the aforementioned actions which were
caused by the deprivations set forth above.

86. In addition to his actual damages, plaintiff is entitled to damages for
the constitutional violations as heretofore described and reasonable attorney fees

and costs.

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WHEREFORE, plaintiff John Litwicki prays judgment against defendant
St. Louis County under Count IV for damages in an amount which will fairly
and justly compensate him, for his attorneys fees and costs, and for whatever
other and further relief as to the Court shall seem meet and proper in the

premises.

COUNT V

BY PLAINTIFF AGAINST DEFENDANTS ST. LOUIS COUNTY

ACTION UNDER 42 U.S.C. § 1983 BY PLAINTIFF FOR
DEPRIVATION OF PROPERTY (AMMUNITION) WITHOUT DUE
PROCESS OF LAW
Plaintiff for Count V against defendant St. Louis County states:
87. He adopts each and every allegation of paragraphs 1 through 86
above.
88. The initial seizure of the ammunition was without pre-deprivation
hearing.
89. No prompt post-deprivation hearing, in a meaningful time and
meaningful manner, has been provided by defendants to plaintiff.
90. The seizure of the firearm and ammunition was an authorized action

of St. Louis County police officers.

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91. The seizure and retention of the firearm and ammunition was not
random or unauthorized but pursuant to police custom, policy, practice and
procedure of defendant St. Louis County.

92, Defendants have developed no meaningful post-deprivation hearing
or judicial remedy for an owner of firearm ammunition seized.

93. Defendants have kept plaintiff’s ammunition in a secret location in the
custody of unidentified individuals.

94, Plaintiff has been deprived of his ammunition without due process of
law and is entitled to his actual damages pursuant to the provisions of 42 U.S.C.
§ 1983.

95. In addition to his actual damages, plaintiff is entitled to damages for
the constitutional violations as heretofore described and reasonable attorney fees
and costs.

WHEREFORE, plaintiff prays judgment against defendant St. Louis
County under Count V for damages in an amount which will fairly and justly
compensate him, for his attorneys fees and costs, and for whatever other and

further relief as to the Court shall seem meet and proper in the premises.

COUNT VI

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BY PLAINTIFF AGAINST DEFENDANTS CITY OF CRESTWOOD
AND ST. LOUIS COUNTY

ACTION UNDER 42 U.S.C. § 1983 BY PLAINTIFF FOR
INFRINGEMENT OF PLAINTIFF’S SECOND AMENDMENT
RIGHT TO BEAR ARMS

Plaintiff for his Count VI against defendants City of Crestwood and St.
Louis County states:
96. He adopts each and every allegation of paragraphs 1 through 95

above.

97. Plaintiff's decision to own and possess his guns included , inter alia, as
a means of self defense.

98. The Second Amendment provides that “the right of the people to keep
and bear Arms... shall not be infringed.”

99, After conducting an exhaustive textual and historical analysis, the
Supreme Court made clear in District of Columbia v. Heller, 554 U.S. 570 (2008),
that the Second Amendment protects an “individual right to possess and carry

weapons” for self-defense.

100. Crestwood Police officers seized all five of plaintiff's firearms which

were in his possession and control and both defendants, leaving none in his

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possession or control, and refused to return them.

101. The Second Amendment and the infringement of plaintiff's right to
bear arms is implicated when state law enforcement officers seize all of plaintiff's
possessed guns and refuses to return them.

102. For all of the reasons and facts state above, Plaintiff has been
damaged by the infringement of his right to bear arms within the meaning of the
Second Amendment to the United States Constitution.

103. In addition to his actual damages, plaintiff is entitled to damages for
the constitutional violations as heretofore described and reasonable attorney fees
and costs.

WHEREFORE, plaintiff prays judgment against defendants City of
Crestwood and St. Louis County under Count VI for damages in an amount
which will fairly and justly compensate him, for his attorneys fees and costs, and
for whatever other and further relief as to the Court shall seem meet and proper

in the premises.

By: __/s/ Gregory G. Fenlon
GREGORY G. FENLON #35050

601 S. Lindbergh

St. Louis, Missouri 63131
(314) 862-7999; f - 862-8999
ATTORNEY FOR PLAINTIFFS
GGFMOATTY@aol.com

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| certify and attest that the above is a true copy of the original record of the Court in case

number [FS8e “CC PS 0/5 as it appears on file in my office.

Issued

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JOAN M. GILMER, Circuit Clerk
St. Louis County Circuit Court

By

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